         Case
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     United States Attorney
     ROBERT A. KNIEF
2    Assistant United States Attorney
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3    Las Vegas, Nevada 89101
     Telephone: (702) 388-6336
4    Email: Robert.Knief@usdoj.gov
     Counsel for Plaintiff United States
5
                   UNITED STATES DISTRICT COURT
6                       DISTRICT OF NEVADA
                                             -oOo-
7
     UNITED STATES OF AMERICA,                 )
8                                              ) Case No.: 2:16-0291-GMN-PAL
                                               )
                   Plaintiff,                  )
9
                                               ) GOVERNMENT
             vs.                               ) MOTION TO DISMISS
10                                             )
                                               )
11   JOHN LUCKOVICH,                           )
                                               )
12                                             )
                   Defendant.                  )
                                               )
13

14           Plaintiff United States of America, by and through DANIEL G. BOGDEN,

15   United States Attorney, and ROBERT A. KNIEF, Assistant United States Attorney,

16   pursuant to Fed. R. Crim. P. 48(a), brings the following motion to dismiss the

17   indictment as to the captioned defendant only.

18           The government moves for the dismissal of the indictment against defendant

19   John Luckovich following additional investigation and in the interests of justice. The

20   government also seeks the captioned defendant’s release from all conditions of

21   . . .

22   . . .

23   . . .

24

25
         Case
          Case2:16-cr-00291-GMN-DJA
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1    pre-trial supervision.

2          Dated this 14th day of October 2016.

3

4                                           DANIEL G. BOGDEN,
                                            United States Attorney
5

6                                           /s/ Robert A. Knief

7                                           ROBERT A. KNIEF
                                            Assistant United States Attorney
8

9

10

11
           IT IS SO ORDERED.
           DATED this __
                      18day of October, 2016.
12

13          ______________________________
            Gloria M. Navarro, Chief Judge
14          United States District Court

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